                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:96-CR-66-03



UNITED STATES OF AMERICA,           )
                                    )
            vs.                     )                       ORDER
                                    )
RODNEY SCOTT SMITH,                 )
                                    )
____________________________________)


        THE MATTER before the Court is whether the Defendant, Rodney Scott Smith, is
entitled to a sentence reduction by virtue of Amendment 706 (dealing with crack cocaine) of the
Sentencing Guidelines. The applicable statute authorizes such reduction if the original sentence
was “based on a sentencing range that has been subsequently lowered by the Sentencing
Commission.” 18 U.S.C. § 3582(c)(2).

       At Rodney Smith’s sentencing, the Court did not sentence him under the career offender
guideline, and instead used the otherwise applicable crack cocaine guideline. With the total
offense level at 31, Mr. Smith received a guideline range of 188 - 235 months imprisonment.
Because the career offender classification was not applied at the original sentence, the total
offense level range must now be reduced from 31 to 29. This reduced level would yield a
guideline range of 151 - 188 months imprisonment.

       Based on the amended guideline range, this Court imposes an amended sentence that is in
proportion to the current sentence. Accordingly, the motion for Sentence Reduction Pursuant to
18 U.S.C. § 3582(c)(2) is GRANTED and the defendant’s previously imposed sentence is
reduced to 151 months.

       IT IS SO ORDERED.
                                                Signed: August 20, 2008




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